EXHIBIT 3
Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., Not Reported in F.Supp.2d (2010)
2010-1 Trade Cases P 76,988


                                                                  1
                    2010 WL 1541257                                      By order filed March 11, 2010, the Court took
                United States District Court,                            the matter under submission. Plaintiffs' Motion to
                     N.D. California.                                    Request Oral Argument, filed March 15, 2010,
                                                                         is hereby DENIED for the reasons stated in
    GOLDEN GATE PHARMACY SERVICES, INC.,                                 defendants' opposition thereto, specifically, that
      d/b/a Golden Gate Pharmacy, et al., Plaintiffs,                    all parties have had an adequate opportunity
                          v.                                             to submit their respective arguments in writing.
         PFIZER, INC., and Wyeth, Defendants.                            See, e.g., Partridge v. Reich, 141 F.3d 920, 926
                                                                         (9th Cir.1988) (holding, in context of motion for
                    No. C–09–3854 MMC.                                   summary judgment, “a district court can decide
                               |                                         the issue without oral argument if the parties can
                        April 16, 2010.                                  submit their papers to the court”).

Attorneys and Law Firms
                                                                                       BACKGROUND
Angelina Alioto–Grace, Joseph M. Alioto, Joseph
Michelangelo Alioto, Jr., Theresa Driscoll Moore, Thomas          In their Second Amended Complaint (“SAC”), plaintiffs
Paul Pier, Alioto Law Firm, Jeffery Kenneth Perkins, Law          allege that each defendant is “engaged, inter alia, in the
Offices of Jeffrey K. Perkins, John Haslet Boone, Law             research, development, manufacture, distribution, and sale
Offices of John H. Boone, Russell F. Brasso, Foreman              of pharmaceuticals products” (see SAC ¶¶ 11, 13), and that
& Brasso, San Francisco, CA, Daniel R. Shulman, Julie             defendants “consummated [a] merger” on October 15, 2009
Lynn Boehmke, Gray, Plant, Mooty, Mooty & Bennett,                (see SAC ¶ 81). Plaintiffs further allege: “The effect of
P.A., Minneapolis, MN, Gary Dean McCallister, Gary D.             the combination may be to lessen competition or to tend
McCallister & Associates, LLC, Chicago, IL, James M.              to create a monopoly, and has already lessened competition
Dombroski, Attorney at Law, Petaluma, CA, for Plaintiffs.         and tended to create a monopoly, in numerous markets
                                                                  and submarkets ... involving the manufacture and sale of
Daniel A. Schiffer, John Clayton Everett, Jr., Scott A.
                                                                  pharmaceuticals and involving research, development, and
Stempel, Morgan Lewis & Bockius LLP, Washington, DC,
                                                                  innovation with respect to pharmaceuticals.” (See SAC ¶ 82.)
Franklin Brockway Gowdy, Kent M. Roger, Lisa Tenorio–
                                                                  Based on said allegations, plaintiffs assert a claim against
Kutzkey, Robert Sturtevant Eaton, Morgan, Lewis & Bockius
                                                                  defendants under Section 7 of the Clayton Act, 15 U.S.C. §
LLP, San Francisco, CA, Joseph F. Tringali, Simpson Thacher
                                                                  18, and Section 1 of the Sherman Act, 15 U.S.C. § 1.
& Bartlett LLP, New York, NY, for Defendants.



         ORDER GRANTING DEFENDANTS'                                                  LEGAL STANDARD
         MOTION TO DISMISS PLAINTIFFS'
                                                                  Dismissal under Rule 12(b)(6) of the Federal Rules of Civil
         SECOND AMENDED COMPLAINT
                                                                  Procedure can be based on the lack of a cognizable legal
MAXINE M. CHESNEY, District Judge.                                theory or the absence of sufficient facts alleged under a
                                                                  cognizable legal theory. See Balistreri v. Pacifica Police
 *1 Before the Court is defendants Pfizer Inc. and Wyeth's        Dep't, 901 F.2d 696, 699 (9th Cir.1990). Rule 8(a)(2),
motion, filed January 22, 2010, to dismiss plaintiffs' Second     however, “requires only ‘a short and plain statement of the
Amended Complaint. Plaintiffs Golden Gate Pharmacy                claim showing that the pleader is entitled to relief.’ ” See
Services, Inc., James Clayworth, R.Ph., Marin Apothecaries,       Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct.
Pediatric Care Pharmacy, Inc., Tony Mavrantonis, R.Ph., John      1955, 167 L.Ed.2d 929 (2007) (quoting Fed.R.Civ.P. 8(a)
O'Connell, R.Ph., and Tilley Apothecaries, Inc. have filed        (2)). Consequently, “a complaint attacked by a Rule 12(b)(6)
opposition, to which defendants have replied. Having read         motion to dismiss does not need detailed factual allegations.”
and considered the papers filed in support of and in opposition   See id. Nonetheless, “a plaintiff's obligation to provide the
to the motion, the Court rules as follows. 1                      grounds of his entitlement to relief requires more than labels



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Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., Not Reported in F.Supp.2d (2010)
2010-1 Trade Cases P 76,988

and conclusions, and a formulaic recitation of the elements        it.” Brown Shoe Co. v. United States, 370 U.S. 294, 325,
of a cause of action will not do.” See id. (internal quotation,    82 S.Ct. 1502, 8 L.Ed.2d 510 (1962). “Interchangeability
citation, and alteration omitted).                                 implies that one product is roughly equivalent to another
                                                                   for the use to which it is put,” Queen City Pizza, Inc.
In analyzing a motion to dismiss, a district court must accept     v. Domino's Pizza, Inc., 124 F.3d 430, 437 (3rd Cir.1997)
as true all material allegations in the complaint, and construe    (noting “while there may be some degree of preference for the
them in the light most favorable to the nonmoving party.           one over the other, either would work effectively”) (internal
See NL Industries, Inc. v. Kaplan, 792 F.2d 896, 898 (9th          quotation and citation omitted), while “[c]ross-elasticity of
Cir.1986). “To survive a motion to dismiss, a complaint must       demand is a measure of the substitutability of products
contain sufficient factual material, accepted as true, to ‘state   from the point of view of buyers,” see id. at 438 n. 6
a claim to relief that is plausible on its face.’ ” Ashcroft       (internal quotation and citation omitted); see also White &
v. Iqbal, –––U.S. ––––, ––––, 129 S.Ct. 1937, 1949, 173            White, Inc. v. American Hospital Supply Corp., 723 F.2d
L.Ed.2d 868 (2009) (quoting Twombly, 550 U.S. at 570).             495, 501 (6th Cir.1983) (holding “a product market is [ ]
“Factual allegations must be enough to raise a right to relief     defined by ‘reasonable interchangeability’ as gauged by the
above the speculative level[.]” Twombly, 550 U.S. at 555.          interchangeability of other products for the same use, and
Courts “are not bound to accept as true a legal conclusion         by consumer sensitivity and response to price fluctuations
couched as a factual allegation.” See Iqbal, 129 S.Ct. at 1950     among available substitutes”). In short, a cognizable product
(internal quotation and citation omitted); see, e.g., Kendall      market consists of “commodities reasonably interchangeable
v. Visa U.S.A., Inc., 518 F.3d 1042, 1047–48 (9th Cir.2008)        by consumers for the same purposes.” See United States v. E.I.
(holding plaintiff who alleged “only ultimate facts” and “legal    du Pont de Nemours & Co., 351 U.S. 377, 395, 76 S.Ct. 994,
conclusions,” rather than “evidentiary facts,” failed to state     100 L.Ed. 1264 (1956).
claim under Sherman Act).
                                                                   2      Plaintiffs allege that the “anticompetitive effects”
                                                                          of the merger will be felt “in the United
                       DISCUSSION                                         States.” (See SAC ¶ 127.) Defendants have not
                                                                          argued that plaintiffs' allegation of a nationwide
 *2 As noted, plaintiffs allege defendants' merger violates               market is insufficient to allege a geographic
Section 7 of the Clayton Act and Section 1 of the Sherman                 market.
Act. Section 7 of the Clayton Act prohibits mergers or
                                                                   “[A] complaint may be dismissed under Rule 12(b)(6)
acquisitions “in any line of commerce or in any activity
                                                                   if the complaint's ‘relevant market’ definition is facially
affecting commerce in any section of the country, [where]
                                                                   unsustainable.” Newcal Indus., 513 F.3d at 1045 (citing
the effect of such acquisition may be substantially to lessen
                                                                   Queen City Pizza, 124 F.3d at 436–37). “Where the plaintiff
competition or to tend to create a monopoly.” See 15 U.S.C.
                                                                   fails to define its proposed relevant market with reference to
§ 18. Section 1 of the Sherman Act provides that any
                                                                   the rule of reasonable interchangeability and cross-elasticity
“contract, combination ..., or conspiracy, in restraint of trade
                                                                   of demand, or alleges a proposed relevant market that clearly
or commerce” is “illegal.” See 15 U.S.C. § 1.
                                                                   does not encompass all interchangeable substitute products
                                                                   even when all factual inferences are granted in plaintiff's
In the SAC, plaintiffs allege that the merger has or will have
                                                                   favor, the relevant market is legally insufficient and a motion
“anticompetitive effects” in “the pharmaceutical market” and
                                                                   to dismiss may be granted.” Queen City Pizza, 124 F.3d at
in “submarkets.” (See SAC ¶ 127.) Defendants argue that
                                                                   436; see, e.g., Tanaka v. University of Southern California,
plaintiffs have failed to sufficiently allege a product market
                                                                   252 F.3d 1059, 1063–64 (9th Cir.2001) (affirming dismissal
or market.
                                                                   of antitrust claims where plaintiff athlete identified product
                                                                   market as “UCLA women's soccer program” but failed to
“Antitrust law requires [an] allegation of both a product
                                                                   allege any facts to support “conclusory” assertion that such
market and a geographic market.” Newcal Indus., Inc. v. Ikon
                                                                   market existed); Big Bear Lodging Ass'n v. Snow Summit,
Office Solution, 513 F.3d 1038, 1045 n. 4 (9th Cir.2008). 2        Inc., 182 F.3d 1096, 1105 (9th Cir.1999) (holding, where
“The outer boundaries of a product market are determined by        plaintiffs alleged existence of “product markets for lodging
the reasonable interchangeability of use or the cross-elasticity   accommodations and ski packages” in Big Bear Valley,
of demand between the product itself and substitutes for           district court properly dismissed antitrust claims because


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Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., Not Reported in F.Supp.2d (2010)
2010-1 Trade Cases P 76,988

plaintiffs failed to allege “there are no other goods or
services that are reasonably interchangeable with lodging
accommodations or ski packages within [the] geographic                        The prices charged by Wyeth for its
market” of Big Bear Valley).                                                  pharmaceutical products has a direct
                                                                              effect and impact on the prices charged
 *3 Here, plaintiffs, in the SAC, identify the product                        by Pfizer for its products, whether they
market(s) as follows: “Defendants Pfizer and Wyeth compete                    are direct substitutes or not.
in what they describe to be the pharmaceutical industry
which includes, but is not necessarily limited to, the
following submarkets: manufacture, sale and innovation
                                                                  (See SAC ¶ 53.)
of all pharmaceutical products, prescription pharmaceutical
products, nonprescription pharmaceutical products, brand
name pharmaceutical products and particular pharmaceutical
                                                                              Wyeth considers the prices charged
products and therapies specifically noted and identified by
                                                                              by Pfizer for pharmaceutical products
Pfizer and Wyeth in their annual reports.” (See SAC ¶ 86.)
                                                                              when Wyeth sets its prices for its
                                                                              pharmaceutical products, whether they
Plaintiffs fail to allege that all commodities sold by
                                                                              be substitute therapies or not.
entities who compete in the “pharmaceutical industry” are
reasonably interchangeable with one another, or that “all
pharmaceutical products,” all “prescription pharmaceutical
products,” all “non-prescription pharmaceutical products,” or     (See SAC ¶ 54.)
all “brand-name pharmaceuticals products” are reasonably
interchangeable with one another. As the Court noted in
its order dismissing the First Amended Complaint, with                        Pfizer considers the prices charged
reference to plaintiffs' allegation included therein that all                 by Wyeth for pharmaceutical products
prescription drugs constituted a product market, the Court                    when Pfizer sets its prices for its
cannot “simply assume that all prescription drugs are                         pharmaceutical products, whether they
reasonably interchangeable for the same purposes, such that,                  be substitute therapies or not.
for example, if the price of a prescription drug used to treat
osteoporosis rises, consumers may react by switching to a
prescription drug used to treat Alzheimer's disease.” (See        (See SAC ¶ 55.)
Order, filed December 2, 2009, at 5:1–5.)
                                                                  The above allegations, construed in the light most favorable
Plaintiffs argue that they have sufficiently alleged              to plaintiffs and assumed true at the pleading stage, would
“interchangeability, both in the pharmaceutical product           support a finding that, for example, the price Wyeth charges
markets and in the innovation market for pharmaceutical           for a product intended for use to treat depression has
products.” (See Pls.' Opp., filed February 5, 2010, at 15:3–4.)   some type of effect on the price charged by Pfizer for
In support of such argument, plaintiffs rely on the following     products intended for use to treat renal-cell carcinoma,
allegations in the SAC:                                           or, as another example, a finding that before Wyeth, in
                                                                  determining the price at which Wyeth will sell a product
                                                                  intended for use to treat depression, first considers the price
            The prices charged by Pfizer for its                  at which Pfizer is selling products that are intended for
            pharmaceutical products has a direct                  use to treat renal-cell carcinoma. Plaintiffs fail to allege,
            effect and impact on the prices charged               however, that any such pricing considerations have any
            by Wyeth for its products, whether                    bearing on consumer behavior, e.g., that a consumer who
            they are direct substitutes or not.                   seeks to purchase a product for use to treat depression
                                                                  will react to a price change by purchasing a product used
                                                                  to treat renal-cell carcinoma. See United States v. General
(See SAC ¶ 52.)                                                   Dynamics Corp., 341 F.Supp. 534, 555 (N.D.Ill.1972) (“Any



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Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., Not Reported in F.Supp.2d (2010)
2010-1 Trade Cases P 76,988

definition of a line of commerce which ignores the buyers                  and “equine tapeworm parasiticides containing
and focuses on what the sellers do, or theoretically can                   praziquantel” (see FAC ¶¶ 21(m), 31, Ex. A ¶ 7).
do, is not meaningful.”), aff'd, 415 U.S. 486, 94 S.Ct.                    Plaintiffs, however, did not include such allegations
1186, 39 L.Ed.2d 530 (1974). Consequently, the Court finds                 in the SAC, and, consequently, the Court does
the above-quoted allegations on which plaintiffs rely are                  not consider whether such alleged product markets
insufficient to support a finding that “all pharmaceutical                 would be cognizable.
products,” all “prescription pharmaceutical products,” all         To the extent plaintiffs allege there exists or existed “actual
“non-prescription pharmaceutical products,” and all “brand         or potential competition between Pfizer and Wyeth” with
name pharmaceutical products” constitute cognizable product        respect to various “products,” such allegations likewise
markets for purposes of plaintiffs' antitrust claims. See          are insufficient to plead a claim. In connection with such
Apple Inc. v. Psystar Corp., 586 F.Supp.2d 1190, 1196              allegation, plaintiffs list the following: “ ‘other primary’
(N.D.Cal.2008) (“Whether products are part of the same or          pharmaceutical products”; “ ‘urological’ products”; “ ‘central
different markets under antitrust law depends on whether           nervous system’ products”; “ ‘cardiovascular’ products”; “
consumers view those products as reasonable substitutes for        ‘capsugel’ products”; “ ‘oncological’ products”; “ ‘animal
one another and would switch among them in response to             health’ products”; “ ‘consumer’ products”; “ ‘nutritional’
changes in relative prices[.]”);                                   products”; “ ‘inflammation’ products”; “ ‘infectious disease’
                                                                   products”; and “ ‘other specialty’ products.” (See SAC
 *4 As noted, plaintiffs, in the SAC, also identify, as
                                                                   ¶¶ 39–50.) 4 No further allegations concerning any such
a product market or markets, “particular pharmaceutical
                                                                   “products” are provided by plaintiffs, and, again, plaintiffs fail
products and therapies specifically noted and identified by
                                                                   to allege that the goods included within any such described
Pfizer and Wyeth in their annual reports.” (See SAC ¶ 86.) The
                                                                   category, e.g., all “ ‘consumer’ products” or all “ ‘infectious
SAC does not state, however, what “particular” products or
                                                                   disease’ products,” are reasonably interchangeable by buyers.
therapies were so identified in defendants' respective annual
                                                                   Accordingly, such references in the SAC, if intended by
reports. In any event, plaintiffs fails to allege that any such
                                                                   plaintiffs to identify product markets or submarkets, are
products or therapies are, from the point of view of the
                                                                   insufficient to state a claim.
buyers thereof, reasonably interchangeable. Consequently,
plaintiffs' conclusory reference to the existence of “particular
                                                                   4
pharmaceutical products and therapies” is insufficient to                  Plaintiffs attribute the descriptions of such
allege a cognizable product market or markets. See Queen                   products, e.g., “other primary,” “capsugel,” and
City Pizza, 124 F.3d at 436 (holding where “plaintiff fails                “nutritional,” to Pfizer. (See SAC ¶¶ 39, 43, 47.)
to define its proposed relevant market with reference to the               Plaintiffs do not allege the circumstances under
rule of reasonable interchangeability and cross-elasticity of              which, or the context in which, such descriptions
demand,” complaint is subject to dismissal). 3                             were used.
                                                                   Finally, plaintiffs argue that if the Court were to find the
3                                                                  instant pleading is subject to dismissal, such a ruling would
       In their First Amended Complaint (“FAC”),
       plaintiffs alleged that separate product markets            run counter to five Supreme Court decisions, each of which
       exist for the manufacture and sale of drugs to              decisions, according to plaintiffs, “enjoined a merger where
       treat Alzheimer's disease, renal-cell carcinoma,            the market share pales in comparison to the market share
       and Methicillin-resistant Staphylococcus aureus             at issue in defendants' merger.” (See Pls.' Opp. at 23:14–
       infections (see FAC ¶¶ 17(f), 17(h)-(i), 27–28),            15.) As defendants correctly observe, however, the issue of
       for the research and development of new drugs               “market share” can only be addressed after a cognizable
       to treat osteoporosis and to treat Alzheimer's              product market has been identified. See United States v. E.I.
       disease (see FAC ¶¶ 17(e), 17(g), 29–30), for               du Pont de Nemours & Co., 353 U.S. 586, 593, 77 S.Ct.
       brand name antidepressants, anti-bacterials, and            872, 1 L.Ed.2d 1057 (1957) ( “Determination of the relevant
       anti-neoplastics (see FAC ¶¶ 17(j)-(l), 24–26), and         market is a necessary predicate to a finding of a violation of
       for the manufacture and sale of drugs to treat              the Clayton Act because the threatened monopoly must be one
       specified animal diseases or conditions, such as            which will substantially lessen competition ‘within the area of
       “canine monovalent vaccines for the prevention              effective competition.’ Substantiality can be determined only
       and treatment of disease caused by parvovirus”              in terms of the market affected.”).



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Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., Not Reported in F.Supp.2d (2010)
2010-1 Trade Cases P 76,988

                                                                                where market identified as “retail grocery market
                                                                                in the Los Angeles area,” whether evidence
 *5 Indeed, to the extent the cases cited by plaintiffs address
                                                                                demonstrated “competition would [ ] be destroyed”
the issue of product market, the Supreme Court, before
                                                                                if merger not enjoined).
considering whether the merger at issue therein should have
been enjoined, first identified the alleged product market,             In sum, plaintiffs have failed to sufficiently allege the
and then considered whether the commodities or services at              existence of a cognizable product market, because plaintiffs
issue were reasonably interchangeable by the purchasers of              have failed to allege, even as a legal conclusion, let
such commodities or services. See United States v. Aluminum             alone with the requisite “evidentiary facts,” see Kendall,
Co. of America, 377 U.S. 271, 276–77, 84 S.Ct. 1283,                    518 F.3d at 1047–48, that any of the alleged markets
12 L.Ed.2d 314 (1964) (finding relevant product market                  or submarkets identified in the SAC consists of products
consisted of both “bare and insulated aluminum conductor                reasonably interchangeable by consumers. Consequently, the
products,” where “[b]oth types [were] used for the purpose of           SAC is subject to dismissal. See id. at 1045 (holding antitrust
conducting electricity and [were] sold to the same customers,           complaint subject to dismissal where “complaint's ‘relevant
electrical utilities”); United States v. Philadelphia Nat'l Bank,       market’ definition is facially unsustainable”); Queen City
374 U.S. 321, 335, 83 S.Ct. 1715, 10 L.Ed.2d 915 (1963)                 Pizza, 124 F.3d at 436 (holding “relevant market is legally
(finding personal loans provided by “small-loan companies”              insufficient and a motion to dismiss may be granted,” where
and personal loans provided by “commercial banks” were not              “plaintiff fails to define its proposed relevant market with
reasonably interchangeable, because “small-loan companies'              reference to the rule of reasonable interchangeability and
rates are invariably much higher than the banks”); Brown                cross-elasticity of demand”).
Shoe Co., 370 U.S. at 297–99, 326 (affirming district court's
finding that, when examining propriety of merger between
manufacturers of shoes, relevant “lines of commerce” were
                                                                                               CONCLUSION
“product lines” of men's, women's and children's shoes, as
opposed to “footwear” or “shoes as a whole”). 5                         For the reasons discussed above, defendants' motion
                                                                        to dismiss the Second Amended Complaint is hereby
5                                                                       GRANTED, and the Second Amended Complaint is hereby
        The other two Supreme Court cases on which
                                                                        DISMISSED.
        plaintiffs rely contain no discussion with respect to
        the product markets identified therein. See United
                                                                        The Clerk shall close the file.
        States v. Pabst Brewing Co., 384 U.S. 546, 548,
        86 S.Ct. 1665, 16 L.Ed.2d 765 (1966) (noting
                                                                        IT IS SO ORDERED.
        plaintiff had alleged merger at issue would have
        anticompetitive effect in market for “the production
        and sale of beer,” and deciding whether plaintiff               All Citations
        had established geographic market); United States
        v. Von's Grocery Co., 384 U.S. 270, 271, 278,                   Not Reported in F.Supp.2d, 2010 WL 1541257, 2010-1 Trade
        86 S.Ct. 1478, 16 L.Ed.2d 555 (1966) (deciding,                 Cases P 76,988

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